                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS



IN RE BROILER CHICKEN ANTITRUST                      Main Case No. 1:16-cv-08637
LITIGATION
                                                     Related Case No. 1:18-cv-06316
This Document Relates To:

Associated Wholesale Grocers, Inc. v. Koch
Foods, Inc., et al.                                  ASSOCIATED WHOLESALE
                                                     GROCERS, INC.’S NOTICE OF
                                                     MOTION FOR LEAVE TO FILE FIRST
                                                     AMENDED COMPLAINT


       PLEASE TAKE NOTICE that on April 29, 2019, at 9:00 a.m., or as soon as counsel

may be heard, the undersigned counsel will appear before the Honorable Thomas M. Durkin, or

any judge sitting in his stead, in Room 1386 of the U.S. District Court of the Northern District of

Illinois, Eastern Division, 219 South Dearborn Street, Chicago, Illinois, and present Associated

Wholesale Grocers, Inc.’s Motion for Leave to File First Amended Complaint, copies of

which are hereby served upon you.

Dated: April 15, 2019

                                                 Respectfully submitted,


                                                 /s/ Amy D. Fitts
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ATTORNEYS FOR PLAINTIFF
ASSOCIATED WHOLESALE GROCERS,
INC.




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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 15th day of April, 2019, a true and correct copy of the

foregoing was electronically filed and served on counsel for all parties properly registered to

receive notice via the Court’s CM/ECF system.


                                                          /s/ Amy D. Fitts
                                                          Amy D. Fitts




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